8 F.3d 71
    303 U.S.App.D.C. 418
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Parviz Karim PANAHI, Appellant,v.GOVERNMENT OF the UNITED STATES of America and 187 OtherMentioned Defendants.
    No. 93-5012.
    United States Court of Appeals, District of Columbia Circuit.
    Oct. 8, 1993.Rehearing and Suggestion for Rehearing En BancDenied Dec. 16, 1993.
    
      Before:  WALD, BUCKLEY and HENDERSON, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the brief filed by appellant.   The court has determined that the issues presented occasion no need for an opinion.   See D.C.Cir.Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order filed January 13, 1993, sua sponte dismissing appellant's complaint pursuant to Fed.R.Civ.P. 8 and 28 U.S.C. § 1915(d), be affirmed substantially for the reasons stated by the district court.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    